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 9                         UNITED STATES DISTRICT COURT
10                      SOUTHERN DISTRICT OF CALIFORNIA
11 MCKINNEY CAPITAL &                       Case No. '20CV0043 BTM WVG
   ADVISORY GROUP, LLC, a
12 California limited liability company,    NOTICE OF REMOVAL OF ACTION
                                            TO FEDERAL COURT
13                     Plaintiff,
14         v.
15 SILVER ARCH CAPITAL
   PARTNERS LLC, a New Jersey limited
16 liability company; and DOES 1 through
   50, inclusive,
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                       Defendants.
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                          NOTICE REMOVAL OF ACTION TO FEDERAL COURT
 1         TO THE CLERK OF THE ABOVE-ENTITLED COURT, ALL PARTIES, AND
 2   THEIR ATTORNEYS OF RECORD:
 3         PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1332, 1441 et seq.,
 4   Defendant Silver Arch Capital Partners LLC (“Silver Arch” or “Defendant”), by and
 5   through its undersigned attorneys, hereby removes the above-captioned civil action, and
 6   all claims and causes of action therein, from the Superior Court of California for the
 7   County of San Diego, Central Division, where it is currently pending as Case No. 37-
 8   2019-00052881-CU-FR-CTL, to the United States District Court for the Southern District
 9   of California, and in support thereof, respectfully states as follows:
10                                 GROUNDS FOR REMOVAL
11         1.     Plaintiff McKinney Capital and Advisory Group LLC (“McKinney Capital”
12   or “Plaintiff”) commenced this action in the Superior Court of California, County of San
13   Diego, Central Division, Case No. 37-2019-00052881-CU-FR-CTL, on or about October
14   4, 2019. True copies of all process, pleadings, orders, and other records in the state court
15   action are attached hereto as Exhibit A.
16         2.     As set forth more fully below, this Court has subject matter jurisdiction
17   under 28 U.S.C. § 1332, which confers original jurisdiction of “all civil actions where the
18   matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs,
19   and is between . . . citizens of different States.”
20   A.    The Amount-In-Controversy Requirement Is Satisfied.
21         3.     The amount in controversy in this matter exceeds the sum or value of
22   $75,000, exclusive of interest and costs, satisfying the amount in controversy
23   requirements of 28 U.S.C. § 1332(a). The Complaint alleges that Plaintiff “has suffered
24   damages in an amount that exceeds $75,000.00.” (Ex. A [Compl. at ¶ 80]). Because the
25   amount in controversy exceeds the sum of $75,000, exclusive of interest and costs,
26   removal on the basis of diversity should be allowed pursuant to 28 U.S.C. § 1441(b).
27   B.    Complete Diversity Exists Between Plaintiff And Defendant.
28         4.     At the time of the filing of this action, Plaintiff McKinney Capital alleged

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 1   that it is a California limited liability company with its principal place of business in San
 2   Diego, California (Ex. A [Compl. at ¶ 1]). Plaintiff’s Complaint contained no allegations
 3   as to the citizenship of its members (id.).
 4         5.     At the time this lawsuit was filed and as of the date of this notice, Defendant
 5   Silver Arch was and is a New Jersey limited liability company with its principal place of
 6   business in Hackensack, New Jersey, and all of Defendant’s members were and are
 7   citizens of the State of New Jersey (Ex. B [Affidavit of Jeffrey Wolfer at ¶ 2]).
 8         6.     On November 20, 2019, Defendant Silver Arch filed a notice of removal in
 9   this Court pursuant to 28 U.S.C. §§ 1332 and 1441, Case No. 3:19-cv-02203-L-LL, based
10   on the allegations in Plaintiff McKinney Capital’s State court Complaint and Defendant’s
11   allegations that “[n]one of the members of Defendant are citizens of the State of
12   California” and that “none of the members of Plaintiff are citizens of the State of New
13   Jersey.” (Dkt. No. 1, Case No. 3:19-cv-02203-L-LL).
14         7.     On November 21, 2019, the Hon. M. James Lorenz issued an order
15   remanding the case on grounds that diversity of citizenship was not ascertainable from
16   the face of the Complaint and that Defendant Silver Arch’s diversity allegations were
17   “insufficient to conclude that none of Plaintiff’s members is a citizen of the same state as
18   any Defendant’s members.” (Dkt. No. 2, Case No. 3:19-cv-02203-L-LL).
19         8.     Thereafter, on or about November 25, 2019, Defendant requested Plaintiff
20   disclose the state of citizenship for each of Plaintiff’s members for the purpose of
21   ascertaining whether removability based on diversity of citizenship exists. Plaintiff
22   declined to disclose each of its member’s state of citizenship.
23         9.     On or about November 25, 2019, Defendant propounded two special
24   interrogatories on Plaintiff, which sought the identities and states of citizenship of each
25   of Plaintiff’s members.
26         10.    On December 26, 2019, Plaintiff served Defendant with responses to the
27   special interrogatories, which consisted entirely of boilerplate objections and lacked any
28   substantive answers.

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 1         11.     On January 2, 2020, Defendant sent a meet-and-confer letter to Plaintiff,
 2   wherein it requested that Plaintiff serve revised, adequate, and responsive answers to the
 3   two special interrogatories.
 4         12.     On January 3, 2020, Plaintiff served Defendant with amended responses to
 5   the special interrogatories, which disclosed that Plaintiff’s sole member, an individual,
 6   was and is a citizen of and domiciled in California (Ex. C [Pl.’s First Am. Resp. to Def.’s
 7   Special Interrogs. (Set One) at 2-3]).
 8         13.     The Complaint also names Defendants “DOE 1 through DOE 50.” (Ex. A
 9   [Compl. at ¶ 3]). For purposes of removal, however, “the citizenship of defendants sued
10   under fictitious names shall be disregarded.” 28 U.S.C. § 1441(b)(1). Therefore, the
11   inclusion of “Doe” defendants in the state court Complaint has no effect on removability.
12   In determining whether diversity of citizenship exists, only the named defendants are
13   considered. See Newcombe v. Adolf Coors Co., 157 F.3d 686, 690-91 (9th Cir. 1998).
14         14.     Because Plaintiff’s sole member does not share a state of citizenship with
15   any of Defendant’s members, the diversity requirement of 28 U.S.C. § 1332 is satisfied.
16                       THE OTHER PROCEDURAL REQUISITES
                            FOR REMOVAL ARE SATISFIED
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18         15.     This removal notice is timely filed pursuant to 28 U.S.C. § 1446(b)(3)
19   because it is filed within thirty days after Defendant’s receipt, “through service or
20   otherwise, of a copy of an . . . other paper from which it may first be ascertained that the
21   case is one which is or has become removable.” Removability based on diversity of
22   citizenship does not appear on the face of Plaintiff’s Complaint because the Complaint
23   contains no allegations as to the identity or state of citizenship of each of Plaintiff’s
24   members (Ex. A [Compl.] ¶ 1]; Dkt. 2, Case No. 3:19-cv-02203-L-LL). It was not until
25   January 3, 2020, by Plaintiff serving amended answers to Defendant’s special
26   interrogatories disclosing the California citizenship of its sole member, that Defendant
27   became aware that this case is removable. Defendant files this notice within thirty days
28   thereafter.

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 1         16.    This action is properly removed to the United States District Court for the
 2   Southern District of California, which is “the district and division embracing the place
 3   where [the] action is pending.” 28 U.S.C. § 1441(a); see also 28 U.S.C. § 84(d) (listing
 4   the counties within the Southern District of California).
 5         17.    Defendant has complied with 28 U.S.C. §§ 1446(a) and (d). Under 28
 6   U.S.C. § 1446(a), true and correct copies of all the process, pleadings, or orders on file in
 7   the state court or served on Defendant in the state court are attached hereto as Exhibit A.
 8   Pursuant to 28 U.S.C. § 1446(d), Defendant will promptly serve a notice of filing of
 9   removal, with a copy of this Notice of Removal attached thereto, on counsel for Plaintiff
10   and will file a notice of filing of removal, with a copy of this Notice of Removal attached
11   thereto, with the Clerk of the Superior Court of California, County of San Diego, Central
12   Division, Case No. 37-2019-00052881-CU-FR-CTL. Copies of the Notice (without
13   Exhibits A-C) and the certificate of service of the Notice to Plaintiff and the Superior
14   Court of the State of California, County of San Diego are attached hereto as Exhibit D.
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16   Date: January 7, 2020                   WRIGHT, L’ESTRANGE & ERGASTOLO
17                                           Attorneys for Defendant
                                             Silver Arch Capital Partners LLC
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19                                           By: /s/ Joseph T. Ergastolo_
                                                   Joseph T. Ergastolo
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                            NOTICE REMOVAL OF ACTION TO FEDERAL COURT
